      Case 1:17-cv-02989-AT Document 1379-1 Filed 05/10/22 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, et al.,                )
                                      )
       Plaintiffs,                    )
                                            CIVIL ACTION FILE
                                      )
vs.                                   )     NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,           )
                                      )
       Defendants.                    )


                               [PROPOSED]
            ORDER GRANTING STATE DEFENDANTS’
       MOTION FOR LEAVE TO FILE MATTERS UNDER SEAL

      Finding good cause shown, the investigative materials filed, pursuant to

the Court’s direction, at [Doc. 1378] shall remain sealed from public view.


      SO ORDERED this ____ day of ______________, 2022.


                                          _______________________
                                          Hon. Amy Totenberg
                                          United States District Judge
